      CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 1 of 13



                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


 SK Enterprises of North Florida, Inc.,             Civil Action No. 0:19-cv-01960

         Plaintiff,
                                                    PLAINTIFF’S COMPLAINT
 v.
                                                    DEMAND FOR JURY TRIAL
 C.H. Robinson Company, and
 C. H. Robinson Company, Inc

         Defendants.

        For its Complaint against C.H. Robinson Company (“CHR”) and C.H. Robinson

Company Inc, (“Inc.”), the Plaintiff, SK Enterprises of North Florida, Inc. (“SK”) alleges and

states as follows:

        1.      Plaintiff is a Florida Corporation with its principal offices in Quincy, Florida and

a citizen of the State of Florida.

        2.      CHR and Inc. are Fortune 300, Delaware corporations authorized to conduct

business in the State of Minnesota with their principal place of business in Eden Prairie,

Minnesota.

        3.      The Court has federal question subject matter jurisdiction under 28 U.S.C. § 1331

and 7 U.S.C. § 499e, the Perishable Agricultural Commodities Act. This Court has diversity

jurisdiction under 28 U.S.C. §1331 as the parties are diverse and the amount in controversy

exceeds the sum of $75,000.

        4.      This Court has supplemental jurisdiction under 28 U.S.C. §1367.

        5.      Venue is proper in this district due to the contractual venue provision contained in

the parties’ agreement.

        6.      All conditions precedent to this action have been performed or have occurred.
      CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 2 of 13



                                       COMMON FACTS

       7.      Inc. has assumed all liability of CHR related to distribution of fruit on

consignment by CHR.

       8.      In the years 2012 through 2013, Defendant CHR acted as an exclusive sales agent

for watermelons supplied by the Plaintiff. As part of those duties, Defendant CHR obtained

transportation services from third party carriers to facilitate sales of Plaintiff’s watermelons.

Buyers of watermelons require transportation of the melons from the facilities of Plaintiff to their

final destinations at the buyers’ premises. Upon information and belief, Defendant CHR billed

customers on a delivered basis which included both product cost and these freight charges but

did not disclose these charges and its profits therefrom to Plaintiff before or after the sale and

delivery of the watermelons. According to its United States Securities Exchange Commission

(“SEC”) filings, Defendant CHR does not own the trucks it utilizes to provide transportation

services, but rather utilizes independent truckers for the transportation services that the

Defendant CHR provides.

       9.      In its 2018 10-K filing with the SEC, page 4, Defendant CHR states as follows:

       Transportation and Logistics Services

       CHR provides freight transportation and related logistics and supply chain services. Our
       services range from commitments on a specific shipment to much more comprehensive
       and integrated relationships. We execute these service commitments by investing in and
       retaining talented employees, developing cutting edge proprietary systems and processes,
       and utilizing a network of contracted transportation providers, including, but not limited
       to, contract motor carriers, railroads, and air and ocean carriers. We make a profit on the
       difference between what we charge to our customers for the totality of services provided
       to them and what we pay to the transportation providers to handle or transport the freight.
       While industry definitions vary, given our extensive contracting to create a flexible
       network of solutions, we are generally referred to in the industry as a third-party logistics
       company.
       We provide the following transportation and logistics services:
       •



                                                  2
      CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 3 of 13



       Truckload: Through our contracts with motor carriers, we have access to dry vans,
       temperature-controlled vans, flatbeds, and bulk capacity. We connect our customers with
       carriers who specialize in their transportation lanes and product types, and we help
       carriers optimize the usage of their equipment.
       •
       Less than Truckload: (“LTL”) transportation involves the shipment of single or multiple
       pallets of freight. We focus on shipments of a single pallet or larger, although we handle
       any size shipment. Through our contracts with motor carriers and use of Navisphere, we
       consolidate freight and freight information to provide our customers with a single source
       of information on their freight. In many instances, we will consolidate partial shipments
       for several customers into full truckloads.

       10.     Through the year 2018, the produce division of CHR, known also as Robinson

Fresh, reported its financial results in SEC filings as a separate division from the other divisions

of CHR. Even though Robinson Fresh is a produce supply division with only 4% of the revenues

of operating of CHR, the profits which Robinson Fresh makes by controlling freight operations

of fresh produce are substantial. According to CHR’s 2018 10-K, the profits attributable to

freight by Robinson Fresh were higher than the income that it made from selling produce.

Transportation of fresh produce received on consignment by Robinson Fresh, and the secret self-

dealing profits therefrom, is more profitable than the commissions that it was paid as the

exclusive sales agent of growers.

       11.     For reasons that have not yet been revealed, CHR changed its financial reporting

in its mandatory filings with the SEC commencing with its 8-Q report on May 1, 2019. CHR

stated in it 8-Q that it would no longer separately report freight revenues for Robinson Fresh as

part of its required SEC filings. Perhaps not coincidentally, Robinson Fresh’s practices of

making substantial, secret profits on freights on consignment transactions was made public in an

amendment in another suit against CHR shortly before CHR publicly announced its accounting

policy changes.




                                                  3
      CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 4 of 13



       12.     Upon information and belief, Defendant CHR sold Plaintiff’s product on a

delivered basis to customers. This type of sale included the freight charge made by the third-

party carrier along with the cost of the fruit and the profit CHR allocated to itself. As part of its

self-dealings, Defendant made an arbitrary allocation of how much of the delivered sales price

paid by the final customer would be allocated to freight charges and how much would be

allocated to the fruit sale that would be reported to Plaintiff. At no time, did Defendant CHR

provide Plaintiff with an accounting or bill for freight services provided for delivery of Plaintiff’s

melons on consignment during 2012 through 2013. To the contrary, the reporting system

utilized by the Defendant CHR to report sales results to Plaintiff was designed to hide from

Plaintiff and other consignment growers the secret profits that Defendant CHR was making by

only reporting to Plaintiff and others an arbitrarily assigned, fictitious “FOB” sales price on sales

liquidations to Plaintiff. Such sales were not in fact FOB, but rather delivered.

       13.     Defendant CHR also required that all transportation for watermelons consigned

by Plaintiff to Defendant CHR be arranged by CHR. Regardless of the detriment to Plaintiff or

other consignors of fresh produce, Defendant CHR employees were told that their employment

would be terminated if they did not utilize third party transportation providers arranged by CHR.

                          FIRST CAUSE OF ACTION
              BREACH OF EXPRESS AND IMPLIED DUTIES UNDER THE
                PERISHABLE AGRICULTURAL COMMODITIES ACT

       14.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 13

inclusive of this Complaint, as though fully set forth in this paragraph 14.

       15.     Interstate produce trade within the United States is governed by a federal statute,

the Perishable Agricultural Commodities Act, 7 U.S.C. § 499 et seq. (“PACA”). Plaintiff’s




                                                  4
      CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 5 of 13



watermelons were supplied to CHR in interstate commerce. For this reason, all of the

transactions between Plaintiff and Defendants were subject to PACA.

       16.     Defendant CHR, as a dealer in produce in interstate commerce is subject to

regulations under PACA. Inc. holds a PACA license number 20061042 issued by the USDA

under PACA.

       17.     The PACA statutory text expressly prohibits rendition of false or misleading

accountings of produce received on consignment:

       It shall be unlawful in or in connection with any transaction in interstate or foreign
       commerce-
       (4) For any commission merchant, dealer, or broker to make, for a fraudulent purpose,
       any false or misleading statement in connection with any transaction involving any
       perishable agricultural commodity which is received in interstate or foreign commerce by
       such commission merchant, or bought or sold, or contracted to be bought, sold, or
       consigned, in such commerce by such dealer, or the purchase or sale of which in such
       commerce is negotiated by such broker; or to fail or refuse truly and correctly to account
       and make full payment promptly in respect of any transaction in any such commodity to
       the person with whom such transaction is had; or to fail, without reasonable cause, to
       perform any specification or duty, express or implied, arising out of any undertaking in
       connection with any such transaction; or to fail to maintain the trust as required under
       Section 499e(c) of this title;

       18.     Defendant CHR is required by PACA regulations, specifically 7 CFR 46.32(b), to

maintain a complete archive of all transactions, charges and sales related to each lot of produce

received on consignment from all suppliers, including Plaintiff. Additionally, Defendant CHR is

required to render a true and correct accounting of all transactions related to produce supplied on

consignment by Plaintiff. The regulations specifically provide that Defendant CHR to truly and

correctly account to Plaintiff for consignment charges as follows:

       Consignments, to account by rendering a true and correct statement showing the date of
       receipt and date of final sale, the quantities sold at each price, or other disposition of the
       produce, and the proper, usual or specifically agreed upon selling charges and expenses
       properly incurred or agreed to in the handling thereof, plus any other information
       required by §46.29;



                                                  5
      CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 6 of 13



       (All licensees who accept produce for sale on consignment or on joint account are
       required to exercise reasonable care and diligence in disposing of the produce promptly
       and in a fair and reasonable manner…..Complete and detailed records shall be prepared
       and maintained by all commission merchants and joint account partners covering produce
       received, sales, quantities lost, dates and cost of repacking or reconditioning, unloading,
       handling freight, demurrage or auction charges, and any other expenses which are
       conducted on the accounting, in accordance with provisions of 46.18 through 46.23.
       When rendering account sales for produce handled for or on behalf of another, an
       accurate and itemized report of sales and expenses charged against the shipment shall be
       made. It is a violation of section 2 of the [PACA] to fail to render true and correct
       accountings in connection with consignments or produce handled on joint account.
       Charges which cannot be supported by proper evidence in the records of the commission
       merchant or joint account partner shall not be deducted. The commission merchant or
       joint account partner may be held liable for any financial loss and for other penalties
       provided by the [PACA], due to his negligence or failure to perform any specification or
       duty, express or implied, arising out of any transaction subject to the Act.

       19.     Defendant CHR breached its duties owed to Plaintiff under PACA regulations by

providing false accountings to Plaintiff that did not truly and correctly account for the results of

consignment sales. Instead, Defendant CHR actively sought to prevent the discovery of its

breach of its duties under PACA regulations by providing Plaintiff with false accountings

reflecting fictitious FOB prices, arbitrarily created by CHR, to cover-up the illegitimate freight

profits it was making on freight charges of third-party freight providers.

       20.     PACA specifically prohibits a sales agent from making profits from any other

product or service without the fully informed, express consent of the consignor. However,

Defendant CHR did not disclose this hidden profit source to Plaintiff and did not obtain the

express, fully informed consent of Plaintiff. Instead, Defendant CHR actively hide the

illegitimate profit gained at the expense of Plaintiff. Defendant CHR’s actions to hide its

misdeeds clearly show that it knew its hidden profits were illegitimate and in violation of the

law. Consequently, Defendant’s acts and omissions were knowingly made in direct violation of

Defendant CHR’s express duties under PACA and its regulations.




                                                  6
       CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 7 of 13



        21.     In its Exclusive Sales Agent agreement, Sections 4.02 and 4.04, CHR agreed to

report the true sales price for all transactions in Plaintiff’s produce and to take its sole profit, its

sales commission from the sales of product. CHR violated this express contractual provision by

reporting false, artificially manufactured sales prices to the Plaintiff.

        22.     PACA contains a civil remedy for breaches of unfair conduct in 7 U.S.C. §

499e(a) and (b).

        23.     Due to the unfair conduct by Defendant, both the express contractual duties and

the duties created under PACA and is regulations, Plaintiff has been damaged in an amount in

excess of $100,000.00. Inc., as assignee of CHR, is jointly liable for the damages suffered by

Plaintiff.

                                 SECOND CAUSE OF ACTION
                                BREACH OF FIDUCIARY DUTY

        24.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 22

inclusive of this Complaint, as though fully set forth in this paragraph 23.

        25.     Defendant CHR’s contracts with Plaintiff are Sales Agent contracts. Under

Minnesota law, as well as under PACA, sales agents owe their principals a fiduciary duty to

place the principal’s interest above that of the agent, to correctly account for their sales activities,

revenues and expenses and more particularly to not make a secret, self-dealing profit from the

subject matter of the agency.

        26.     Defendant CHR as an exclusive sales agent for Plaintiff owed duties in

connection with its receipt of watermelons on consignment. Such duties include the duty to not

self-deal as part of the consignment sales agent process, unless it obtains the fully informed,

express consent of the Plaintiff. This duty is provided under PACA, and under Minnesota Law




                                                    7
      CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 8 of 13



pertaining to fiduciary duty and the duties of good faith and fair dealing owed under all

contracts.

       27.     Upon information and belief, Defendant CHR has included transportation services

for watermelons shipped to final purchasers as part of delivered sales price invoices. When

Defendant sells product on consignment on behalf of Plaintiff, it only has the right to receive a

10% commission of the FOB sales price. However, Defendant CHR bills ultimate purchasers for

transportation services as part of a single, delivered sales price for watermelons. Defendant CHR

then arbitrarily allocates a portion of the delivered sales price above and beyond the actual

transportation costs paid to the third-party motor carrier that shipped the product. The arbitrarily

reduced “FOB” sales price component of the total sale is then reported to the grower, Plaintiff

was kept unaware that the price of its produce was arbitrarily reduced to provide CHR with an

illegitimate profit not provided for by the Agreement. The purported sales price reported to

Plaintiff is nothing more than a fiction created by the Defendant as part of its intentional scheme

to cover up its secret, additional profit that is made up of the difference between what the third-

party freight carrier charged and what CHR arbitrarily assigns as a transportation charge for its

own profit above that to which it is entitled under the Agreement.

       28.     Defendant CHR’s service model, including its policy that all transportation must

be booked through its transportation branch, creates a conflict of interest between its duties as a

commission merchant for which it receives only a 10% commission and its role as a party that

seeks transportation from third parties, the profits of which are potentially much greater. This

inherent conflict of roles as transportation provider and exclusive sales agent for Plaintiff creates

an incentive to reduce the fictitious sales price reported to Plaintiff, for which it receives only a

10% commission, and in turn to increase the charge for transportation services for which



                                                   8
       CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 9 of 13



Defendant can obtain a higher return. The conflict, as described in Defendant’s 10-K filing

cited in paragraph 9 above, arises out of the separate, undisclosed profit that Defendant makes

between what it pays the ultimate transportation provider and what it bills customers, such as

those who purchased Plaintiff’s melons. Under PACA, the common law of agency and the

contractually implied duty of good faith and fair dealing, all self-dealing by an agent must be

expressly authorized by the principal, in this case the Plaintiff, after full disclosure of all relevant

facts. PACA further places a duty on Defendant to minimize additional costs when it sells on

behalf of a consignor. Defendant has not made any such disclosure of self-dealing, nor received

the express consent required under applicable law. Instead, Defendant CHR actively hides the

fact that the prices of Plaintiff’s watermelons were being arbitrarily reduced by Defendant CHR.

As a result, Plaintiff suffered significant losses in profits due to the undisclosed and arbitrary

reduction in the reported sales price of its watermelons.

        29.     As noted above, not only has Defendant CHR failed to accurately report and

account sales to Plaintiff, it has taken affirmative steps to conceal its secret freight profit from

produce suppliers such as Plaintiff. The sales reports provided to Plaintiff only contain the

fictitious sales price, and a commission charged on the fictitious sales price. Nowhere do the

CHR sales reports provided to Plaintiff reflect the substantial, secret, self-dealing profit that

Defendant takes between the amount which it arbitrarily assigns to freight and the actual freight

charged by the third-party freight provider. Such attempts to hide the true nature of its sales from

growers such as Plaintiff is a further breach of the fiduciary duty owed to Plaintiff by Defendant

as a sales agent, and evidence that it knowingly and intentionally violated its duties under the

law.




                                                   9
     CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 10 of 13



       30.     Plaintiff has been damaged because of Defendant’s breach of fiduciary duty in an

amount in excess of $100,000.00. Inc., as assignee of CHR, is jointly liable for the damages

suffered by Plaintiff.

                                THIRD CAUSE OF ACTION
                           BREACH OF THE IMPLIED COVENANT OF
                              GOOD FAITH AND FAIR DEALING

       31.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 29

inclusive of this Complaint, as though fully set forth in this paragraph 30.

       32.     Under Minnesota law, every contract includes an implied covenant of good faith

and fair dealing. The acts and omissions of Defendant stated herein violated the implied

covenant of good faith and fair dealing based upon the subject contract executed between the

parties. Defendant’s acts and omissions breached its implied duty of good faith and fair dealing

by making a secret, illegal profit on freight services provided by third parties without the

express, informed consent of Plaintiff.

       33.     Plaintiff has been damaged because of Defendant CHR’s breach of its implied

duty of good faith and fair dealing in an amount of in excess of $100,000.00. Inc., as assignee of

CHR, is jointly liable for the damages suffered by Plaintiff. Inc., as assignee of CHR, is jointly

liable for the damages suffered by Plaintiff.

                    FOURTH CAUSE OF ACTION – ACTION FOR
           AN ACCOUNTING OF TRANSPORTATION AND OTHER THIRD-PARTY
                                  CHARGES

       34.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 33

inclusive of this Complaint, as though fully set forth in this paragraph 34.

       35.     Plaintiff seeks an accounting of all freight and other third-party charges, including

any rebates on packing materials and shipping costs, by Defendant to all ultimate purchasers of



                                                 10
     CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 11 of 13



Plaintiff’s watermelons for the years of 2012-2013. Plaintiff demands that such accounting

include all freight charges, transportation charges, logistics charges, rebates and any other

charges billed to and paid by the ultimate customer. Plaintiff further demands that such

accounting include the actual rebates from packaging and shipping vendors, and the actual

payments made by Defendant to the truckers or other service providers contracted by Defendant

to provide transportation of Plaintiff’s watermelons during the years 2012 through 2013. As part

of the accounting, Plaintiff demands that Defendant provide all back up documents to support the

sales, rebates, commissions, charges and payments listed in the accounting. Inc., as assignee of

CHR, is jointly liable for the accounting sought by Plaintiff.

         FIFTH CAUSE OF ACTION – FOR FORFEITURE OF COMMSSIONS
                        RECEIVED BY DEFENDANTS

       36.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 35

inclusive of this Complaint, as though fully set forth in this paragraph 36.

       37.     The Minnesota law of fiduciary relationships, as reflected in the Restatement of

the Law of Agency (Third), Section 8.01, provides for forfeiture of commissions by an agent that

violates its fiduciary duties under an agency relationship.

       38.     CHR’s substantial and intentional breach of its fiduciary duties owed to Plaintiff

by taking secret profits on freight transactions on the sales of Plaintiff’s watermelons make its

sales commissions charged to Plaintiff for watermelon sales during the years 2013 until 2014

subject to forfeiture. Plaintiff seeks as an additional remedy the forfeiture of all commissions

received by CHR.

       39.     The commission subject to forfeiture are estimated to be in excess of

$100,000.00.




                                                 11
     CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 12 of 13



SIXTH CAUSE OF ACTION—FOR FRAUDULENT CONCEALMENT AND TOLLING
                  OF THE STATUTE OF LIMITATIONS

       40.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 39

inclusive of this Complaint, as though fully set forth in this paragraph 40.

       41.       Defendant CHR violated the Minnesota law of fraudulent concealment because

it knowingly, intentionally and/or with reckless disregard provided Plaintiff with a false

accounting that concealed Plaintiff’s causes of action. Because Plaintiff had no way of knowing

of the freight topping by Defendant, or any other accounting discrepancies, Defendant’s

concealment could not have been discovered by Plaintiff through reasonable diligence.

       42.     The Minnesota law of fraudulent concealment provides that a party’s fraudulent

concealment stops the clock on the statute of limitations, and the clock does not restart until the

aggrieved party discovers or has had a reasonable opportunity to discover their cause of action.

Thus, when CHR provided Plaintiff with false sales reports that omitted CHR’s self-dealing and

illegitimate profits through the topping the freight costs for transporting Plaintiff produce, the

applicable statute of limitations as to Plaintiff’s claims made herein stopped until Plaintiff

discovered or had reason to discovery its causes of action.

       WHEREFORE, Plaintiff prays for judgment as follows:

       A.      Against Defendants CHR and Inc. for the sum of at least $100,000.00 for breach

of express and implied obligations under Section 2 of the PACA.

       B.      For entry of a Final Judgment against Defendants CHR and Inc. in the amount of

at least $100,000.00, plus costs for breach of fiduciary duty.

       C.      For entry of a Final Judgment against Defendants CHR and Inc. in the amount of

at least $100,000 for breach of the duty of good faith and fair dealing




                                                 12
        CASE 0:19-cv-01960-SRN-TNL Document 1 Filed 07/25/19 Page 13 of 13



         D.    For entry of an order requiring Defendants CHR and Inc. to render an accounting

and all supporting documents of all freights charged its customers for the watermelons supplied

by Plaintiff in the years 2012 through 2013, including the true sales invoices and prices for

Plaintiff’s consigned product, the charges paid Defendants CHR and Inc. (or any of its affiliates

or subsidiaries), and the charges paid to the motor carriers and other third-party service providers

providing services related to the consigned melons.

         E.    Ordering the forfeiture of commissions received by Defendants in the years 2012-

2013.

         F.    For entry of a Final Judgment against Defendants CHR and Inc. for exemplary

damages in an amount to be determined by the jury.

         G.    For such other and further relief as the court deems appropriate upon

consideration of this matter.

Dated: July 25, 2019.

                                                 Respectfully submitted,

                                                 /s/ Craig A. Stokes____________
                                                 Craig A. Stokes
                                                 Minnesota Attorney ID # 0390849
                                                 Admitted in USDC Minnesota
                                                 cstokes@stokeslawofffice.com
                                                 STOKES LAW OFFICE LLP
                                                 3330 Oakwell Court, Suite 225
                                                 San Antonio, TX 78218
                                                 Telephone (210) 804-0011
                                                 Facsimile (210) 822-2595

                                                 Attorneys for Plaintiff
                                                 Wainwright Brothers Farms, LLC




                                                13
